17 F.3d 1433NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.
    Norris B. ELLIS, Petitioner-Appellant,v.Sewall B. SMITH, Warden;  Attorney General of the State ofMaryland, Respondents-Appellees.
    No. 93-6575.
    United States Court of Appeals, Fourth Circuit.
    Submitted Jan. 19, 1994.Decided March 2, 1994.
    
      Appeal from the United States District Court for the District of Maryland, at Baltimore.  William M. Nickerson, District Judge.  (CA-92-1724-WN)
      Norris B. Ellis, Appellant Pro Se.
      John Joseph Curran, Jr., Attorney General, Mary O'Malley Lunden, OFFICE OF THE ATTORNEY GENERAL OF MARYLAND, Baltimore, MD, for Appellees.
      D.Md.
      DISMISSED.
      Before NIEMEYER, HAMILTON, and MICHAEL, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant seeks to appeal the district court's order denying relief on his 28 U.S.C. Sec. 2254 (1988) petition.  Our review of the record and the district court's opinion accepting the recommendation of the magistrate judge discloses that this appeal is without merit.  Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the district court.  Ellis v. Smith, No. CA-92-1724-WN (D. Md. May 21, 1993).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    DISMISSED
    